      Case 1:07-cv-01080-LJO-GSA Document 15 Filed 01/03/08 Page 1 of 1


 1
 2
 3
 4
 5                              IN THE UNITED STATES DISTRICT COURT
 6                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   ROGER MCINTOSH,                                         CASE NO. CV F 07-1080 LJO GSA
 9                                    Plaintiff,
                                                             ORDER TO CONTINUE SCHEDULING
10            vs.                                            CONFERENCE
11   NORTHERN CALIFORNIA UNIVERSAL
     ENTERPRISES COMPANY, et al.,                            Date: February 4, 2008
12                                                           Time: 8:30 a.m.
                                      Defendants.            Courtroom: 4 (LJO)
13
     ___________________________________/
14
15            On January 2, 2007, the parties filed a stipulation and proposed order to continue the January 7,
16   2008 scheduling conference. The parties indicate that they have been engaged in discussions to resolve

17   this matter and believe that they would benefit from further discussions. On the basis of good cause, the

18   Court:

19            1.       CONTINUES the January 7, 2008 hearing to February 4, 2008 at 8:30 am in Courtroom

20                     4 (LJO); and

21            2.       ORDERS the parties to file a Joint Scheduling Report on or before January 28, 2007.

22   IT IS SO ORDERED.

23   Dated:         January 3, 2008                      /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
24
25
26
27
28

                                                         1
